       Case 4:21-cv-00004-JGZ Document 58 Filed 04/29/22 Page 1 of 2



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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                FOR THE DISTRICT OF ARIZONA
10
     Todd Miller, et al.,                                   CV 21-00004-TUC-JGZ
11
                            Plaintiffs,                 NOTICE OF SERVICE OF
12                                                   DEFENDANT USA’S THIRTEENTH
            vs.                                       SUPPLEMENTAL DISCLOSURE
13                                                           STATEMENT
14   United States of America,
15                          Defendant.
16         Defendant United States of America gives notice that on April 29, 2022, it served
17   its Thirteenth Supplemental Disclosure Statements on Plaintiffs’ counsel via U.S. Mail.
18                RESPECTFULLY SUBMITTED this 29th day of April, 2022.
19
                                              GARY M. RESTAINO
20                                            United States Attorney
                                              District of Arizona
21
22                                            s/Michael L. Linton
                                              MICHAEL L. LINTON
23                                            Assistant U.S. Attorney
                                              Attorneys for Defendant United States
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25
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       Case 4:21-cv-00004-JGZ Document 58 Filed 04/29/22 Page 2 of 2



                                CERTIFICATE OF SERVICE
 1
           I hereby certify that on April 29, 2022, I electronically transmitted the attached
 2   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the following CM/ECF registrants:
 3
     Ronald D. Mercaldo
 4   Marco B. Mercaldo
     Carlo N. Mercaldo
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 8   s/M. Parker
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